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                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

IN RE:                                             §
                                                   §                           CASE NO. 18-30849
BENDCO, INC.                                       §
                                                   §                                  Chapter 11
         Debtor                                    §

 MOTION FOR ENTRY OF RULE 4001 STIPULATION AND AGREED ORDER FOR
   ADEQUATE PROTEACTION BETWEEN DEBTOR AND TCF EQUIPMENT
            FINANCE, A DIVISION OF TCF NATIONAL BANK

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
         YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
         CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
         AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
         RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
         FILE AND SERVE YOUR RESPONSE WITHIN 14 DAYS OF THE DATE
         THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
         MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
         RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER
         NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT
         REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING.
         UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY
         CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE
         MOTION AT THE HEARING.

         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

         COMES NOW, TCF Equipment Finance, a Division of TCF National Bank, (“TCF”)

files this Motion for Entry of Rule 4001 Stipulation and Agreed Order for Adequate Protection

between Debtor and TCF and in support thereof respectfully shows the Court the following:

         1.       Jurisdiction is conferred on this Court pursuant to 28 U.S.C. § 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157 and 11 U.S.C. Section 362(d), and is brought by motion

pursuant to Bankruptcy Rule 4001(d).

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       2.      The Debtor filed a Voluntary Petition under Chapter 11 of the United States

Bankruptcy Code on February 28, 2018 and has been continually operating its business.

       3.      Prior to the commencement of this case, on or about May 16, 2013, Debtor

entered in to a written Master Lease Agreement with Balboa Capital Corporation (the

“Contract”) to finance the purchase of a Roundo section bending machine Model R-5S, s/n

08889 with standard equipment and digital readouts (the “Equipment”). A UCC-11 Financing

Statement was filed on May 22, 2013. The Contract and UCC were assigned to TCF on or about

May 30, 2013. The Contract required Debtor to make quarterly payments and to maintain

insurance on the Equipment among other things.

       4.      Debtor was in arrears on its payments as of the date of filing of this case. The

Contract had been accelerated and matured prior to the filing. No post-petition payments have

been made to TCF. TCF is fully secured under Section 506 of the Bankruptcy Code and is owed

a total of $29,498.59. Debtor is in possession of and continues to use the Equipment in its

business. Debtor asserts that the Equipment is necessary for its continued business operations

and an effective reorganization.

       5.      TCF and Debtor have entered into a Stipulation and Agreed Order for Adequate

Protection which sets forth the terms of the parties’ agreement for Debtor’s continued use of the

Equipment and adequate protection of TCF’s interest, a copy of which is attached hereto as

Exhibit “A”. Specifically, (1) Debtor shall make monthly payments to TCF: (2) Debtor shall

maintain insurance on and keep the Equipment in good condition; and (3) Debtor shall pay the

remainder of TCF’s claim in full under any proposed plan.        A copy of the Stipulation and

Agreed Order is attached hereto as Exhibit “A”. The parties request the Court approve the

attached Stipulation and Agreed Order.
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       WHEREFORE PREMISES CONSIDERED, TCF respectfully requests that the Court

enter the Stipulation and Agreed Order attached as Exhibit “A” hereto and grant the parties such

other and further relief, both general and special to which it may be justly entitled.

                                              Respectfully submitted,

                                              LAW OFFICES OF T.H. KELLEY, P.C.


                                              By: /s/ Teri H. Kelley
                                                    Teri H. Kelley
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                                                      ATTORNEY FOR TCF EQUIPMENT
                                                      FINANCE, A DIVISION OF TCF
                                                      NATIONAL BANK




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 4, 2018, a true and correct copy of the above and foregoing
Motion for Entry of Rule 4001 Stipulation and Agreed Order for Adequate Protection was served
via ECF, if available or otherwise by first class U.S. mail postage pre-paid or to the parties listed
below and on the attached service list.


                                                      /s/ Teri H. Kelley
                                                      Teri H. Kelley

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Parties Requesting Notice- Via ECF
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